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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                                 Chapter 11

FTX TRADING LTD., et al., 1                            Case No. 22-11068 (JTD)

                              Debtors.                 (Jointly Administered)


ALAMEDA RESEARCH LTD. and FTX
TRADING LTD.,

                              Plaintiffs,

                    - against -                        Adv. Pro. No. 23-50444 (JTD)

PLATFORM LIFE SCIENCES INC., LUMEN
BIOSCIENCE, INC., GREENLIGHT
BIOSCIENCES HOLDINGS, PBC,
RIBOSCIENCE LLC, GENETIC NETWORKS
LLC, 4J THERAPEUTICS INC., LATONA
BIOSCIENCES GROUP, FTX FOUNDATION,
SAMUEL BANKMAN-FRIED, ROSS
RHEINGANS-YOO, and NICHOLAS
BECKSTEAD,

                              Defendants.


    PLAINTIFFS’ RESPONSE TO PLATFORM LIFE SCIENCES, INC.’S MOTION TO
                  DISMISS FOR FAILURE TO STATE A CLAIM




1
        The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification
number are 3288 and 4063, respectively. Due to the large number of debtor entities in these
Chapter 11 Cases, a complete list of the Debtors and the last four digits of their federal tax
identification numbers is not provided herein. A complete list of such information may be obtained
on the website of the Debtors’ claims and noticing agent at https://cases.ra.kroll.com/FTX. The
principal place of business of Debtor Emergent Fidelity Technologies Ltd is Unit 3B, Bryson’s
Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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               Plaintiffs Alameda Research Ltd. and FTX Trading Ltd. (“Plaintiffs”) respectfully

submit this response to the motion of Platform Life Sciences, Inc., a corporation incorporated in

Delaware (“PLS Delaware”), to dismiss the Complaint under Fed. R. Civ. P. Rule 12(b)(6) [Adv.

D.I. 37].

               In their Complaint [Adv. D.I. 1], Plaintiffs sued a single entity called Platform

Life Sciences, Inc., which Plaintiffs believed was a corporation incorporated both in British

Columbia, Canada, and in Delaware. Complaint ¶ 21 (D.I. 1). The Complaint seeks to avoid

fraudulent transfers of $53.25 million that were made to Platform Life Sciences, Inc. (“PLS”), a

corporation incorporated in British Columbia. Plaintiffs learned through PLS’s Motion to

Dismiss under Fed. R. Civ. P. Rule 12(b)(2) [Adv. D.I. 35] that, despite having an identical name

as PLS, sharing the same executive management as PLS, and not having its own board of

directors, PLS Delaware is not, in fact, the same entity as PLS, but rather, is a wholly-owned

subsidiary of PLS located in Delaware. (PLS Mot. ¶ 2, 7, 8, 9.) (D.I. 35.)

               Because Plaintiffs did not assert any claims against PLS Delaware in the

Complaint, PLS Delaware’s motion to dismiss for failure to state a claim is moot.
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Dated: September 29, 2023          LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                   /s/ Matthew B. McGuire
                                   Adam G. Landis (No. 3407)
                                   Matthew B. McGuire (No. 4366)
                                   Kimberly A. Brown (No. 5138)
                                   Matthew R. Pierce (No. 5946)
                                   919 Market Street, Suite 1800
                                   Wilmington, Delaware 19801
                                   Telephone: (302) 467-4400
                                   Facsimile: (302) 467-4450
                                   E-mail: landis@lrclaw.com
                                           mcguire@lrclaw.com
                                           brown@lrclaw.com
                                           pierce@lrclaw.com

                                   -and-

                                   SULLIVAN & CROMWELL LLP
                                   Steven L. Holley (admitted pro hac vice)
                                   Andrew G. Dietderich (admitted pro hac vice)
                                   James L. Bromley (admitted pro hac vice)
                                   Stephanie G. Wheeler (admitted pro hac vice)
                                   Brian D. Glueckstein (admitted pro hac vice)
                                   Christopher J. Dunne (admitted pro hac vice)
                                   125 Broad Street
                                   New York, NY 10004
                                   Telephone: (212) 558-4000
                                   Facsimile: (212) 558-3588
                                   E-mail: holleys@sullcrom.com
                                           dietdericha@sullcrom.com
                                           bromleyj@sullcrom.com
                                           wheelers@sullcrom.com
                                           gluecksteinb@sullcrom.com
                                           dunnec@sullcrom.com

                                   Counsel for the Debtors
                                   and Debtors-in-Possession
